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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

NOEL BRALLEY,
et al.,

Plaintiffs,

Vv. Civil Action No. 3:10cv138

MARK A. CAREY,
et al.,

Defendants.
MEMORANDUM OPINION

This matter is before the Court on Pro Se Defendant Mark A.
Carey’st Rule 60(b) (6) or, Alternatively, Rule 60(d)(1) Action to
Set Aside or Vacate Judgment (“Motion to Vacate”) (ECF No. 94).
For the reasons set forth below, the Motion to Vacate will be
denied.

BACKGROUND

On March 4, 2010, the Plaintiffs filed this action against
Mark A. Carey (“Carey”), the Law Offices of Mark A. Carey, P.C.
(the “Carey Law Firm”), several named and John Doe employees of
the Carey Law Firm, and FFD Resources III. The Complaint (ECF No.

1) presented claims for violations of the Fair Debt Collection

 

1 Mark Carey is an attorney, but he is not licensed in Virginia.
He is appearing pro se on behalf of himself only, not the Defendant
Law Offices of Mark A. Carey, P.C.
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Practices Act against Carey, the Carey Law Firm, and its employees
(both named and John Does). The Complaint alleged other claims
against FFD Resources, III, LLC, but those claims were dismissed
by stipulation under Fed. R. Civ. P. 41(a)(1)(A) (ii) (ECF No. 11).

In April 2010, over ten years ago and not long after the
action was filed, Carey and the Carey Law Firm and Plaintiffs,
Noel, Carolyn, and Braxton Bralley settled the claims against Carey
and the Carey Law Firm. However, shortly thereafter, Carey and
the Carey Law Firm took the view that no settlement had been
reached. The Plaintiffs moved to enforce the settlement agreement
(ECF No. 12); and, after an evidentiary hearing, the Court issued
a decision holding that, in fact, a settlement agreement had been
reached, reciting the terms thereof, and ordering that the
settlement agreement be enforced. (ECF No. 18). Judgment was
entered to that effect (ECF No. 20).

Carey and the Carey Law Firm refused to comply with the terms
of the agreed settlement or the judgment requiring that it be
enforced. Indeed, the Plaintiffs assert that, since the judgment
was entered on November 12, 2010, Carey and the Carey Law Firm
have employed a variety of strategies to avoid paying what they
have been ordered to pay. (ECF No. 95, p. 1). Numerous entries

in the CM/ECF system tend to confirm that assertion. (e.g., ECF

Nos. 27, 28, 30, 31, 32, 37, 41, 42, 53, 59, 65, 80).
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The most recent evasive action is the pro se Motion to Vacate
filed by Carey on July 17, 2020. See Mot. to Vacate, ECF No. 94.
In something out of a penny dreadful or a B-movie legal thriller,
Carey now says that he was defrauded by a former employee who Carey
now believes was the person who was illegally attempting to collect
on the Plaintiffs’ debts.

In particular, Carey says that “{s]oon after the settlement

[he] learned the first set of facts that suggested that third
party criminal activity occurred as his law firm.” (ECF No. 94,
p. 4, “Relevant Facts That Became Known To Carey Just After
Settlement”). Carey identified the third party to be the Carey
Law Firm’s Operations Manager, Cozino lLanzetta. Because of
Lanzetta’s conduct, “Carey immediately contacted Plaintiff's [sic]
attorney, advised him of the theft, and asked for a modification
of the settlement.” Id. Also, Carey filed a police report.

Lanzetta was convicted of forgery, identity theft and larceny.

Id.

Carey's affidavit also reveals that, before he entered into
the settlement in 2010, he and an employee (Chet Dietz) searched
the Carey Law Firm’s electronic files but found no evidence that
the Plaintiffs’ “collection account was ever placed with Carey.”
(ECF No. 94, Ex. 1 AFFIDAVIT OF MARK A. CAREY, ESQ., pp. 24/34).

Carey’s affidavit also shows that, thusly informed, Carey elected
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to settle the Plaintiffs’ claims. Id. 4 16. In other words, Carey
settled while armed with knowledge that neither he nor his law
firm’s employees might not have committed acts making him or the
Carey Law Firm liable to Plaintiffs at all (the alleged violations
of the Fair Credit Reporting Act).

The record, as presented by Carey, shows that, “just after
the settlement,” he learned that Lanzetta had been manipulating
the Carey Law Firm’s electronic records, the search of which
provided no evidence that the Plaintiffs’ accounts had been the
subject of the claims that had just been settled. But the record
discloses no further pursuit of the irregularities of which Carey
learned “just after the settlement.” Indeed, the record shows
that about a decade later, Carey, by chance, came upon the evidence
he now asserts as “new” and that warrants relief under Rule 60.
Specifically, Carey now tells us that, in the second week of
February 2020, he had lunch with a former colleague (Frank
Scordato) who told Carey that his former employee, Cosimo
Lanzetta,? had installed a separate server in a closet of unused
office space rented by the Carey Law Firm. Lanzetta then connected

that server to the computers of the Carey Law Firm which made it

 

2 It is not directly related to the present claims, but after the
settlement was approved, Carey says that he learned that Cosimo
Lanzetta also stole all of the money in Carey’s business account.
Mot. to Vacate at 4, ECF No. 94. Lanzetta was sentenced in New
York to serve 1-3 years in jail. Mot. to Vacate at 5, ECF No. 94.
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appear that the calls to the Plaintiffs were coming from the Carey
Law Firm. Mot. to Vacate at 5-6, ECF No. 94.

After that lunch meeting, Scordato called Chet Dietz, another
of Carey’s former employees, and asked Dietz to tell Carey what
Dietz knew. Mot. to Vacate at 6, ECF No. 94. Dietz has filed an
affidavit stating that he knew quite a bit more about what
happened, but had not told Carey before because “he was afraid of
repercussions from the wrongdoers, including the convicted felon,
Lanzetta.” Mot. to Vacate at 6, ECF No. 94.

In Dietz’ affidavit he states, in relevant part:

[7] A short time after starting his employment with
Carey in 2009, Lanzetta urged Carey to lease a smaller
office on another floor in the building, allegedly for
extra space for equipment and employees.

[8] An extra computer server I set up in the smaller
office was "digitally empty" and was never connected
to the existing server because there was no business
need for it.

[9] Only the phone lines were connected to the main
Carey office.

[10] All of the servers used by Carey were owned by me
and were only leased to Carey.

[11] After Carey closed the office, I went back to the
office to collect my personal belongings and
miscellaneous papers and documents from the two
offices leased by Carey.

[12] While there, I found the extra server that I had
put in the smaller office, hidden in a stock closet,
but I had not found that server when Carey and I
surveyed the office after it was broken into.
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[13] When I retrieved that server, I noticed that it
been connected to the computers in that office through
a hole in the closet wall, but I didn't really think
anything of it at the time.

[14] Thereafter, not wanting to be involved and
fearing for my personal safety if I was believed to be
siding with Carey in prosecuting Lanzetta, I moved to
Texas, where I currently reside.

[15] A few years later, while in Texas and when T was
going through old boxes, I discovered more evidence of
Lanzetta's criminal activity, a document showing that
Lanzetta had - by forging Carey's name - contracted
with at least one other debt buyer client to begin
collecting other debt portfolios, but the address
listed on the document was to an outside
correspondence address belonging to Lanzetta, not
Carey's address.

[16] Later still, on or around 2015 or 2016, when I
sold the remaining server I found, I discovered the
final piece of evidence that showed why Carey was
mistaken as to his assumption that the Bralley file
was one of his.

[17] When I checked the server, I discovered that it
was no longer empty, but instead contained collection
accounts that I had not loaded into the server.

[18] Because I was the only one authorized to access
and load the servers, I reasonably concluded that Mr.
Lanzetta had loaded the fraudulently obtained debt
portfolio and was illegally collecting on those
accounts out of the smaller office.

[20] Lanzetta never obtained authorization from me to
install electronic data onto the server in the smaller
office and nobody knew nor, because it was not hooked
up the main server, could have known he had taken it
upon himself to do so.

Mot. to Vacate at 30-33 (“Exhibit 2”), ECF No. 94.
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Carey now argues that the judgment approving the settlement
agreement should be set aside because it has no basis in fact.
See Mot. to Vacate at 10, ECF No. 94 at 10. According to Carey,
Plaintiffs’ claim should really have been brought against his
former employee, Lanzetta, because Carey has no responsibility for
what happened to Plaintiffs. He thus asks the Court to vacate a

ten year old judgment.

LEGAL STANDARD
A. Fed. R. Civ. Pro. 60(b) (6)
Federal Rule of Civil Procedure 60(b) states:
(b) Grounds for Relief from a Final Judgment, Order,
or Proceeding. On motion and just terms, the court may

relieve a party or its legal representative from a

final judgment, order, or proceeding for the following
reasons:

(1) mistake, inadvertence, surprise, or excusable

neglect;

(2) newly discovered evidence that, with
reasonable diligence, could not have been
discovered in time to move for a new trial under
Rule 59(b);

(3) fraud (whether previously called intrinsic or
extrinsic), misrepresentation, or misconduct by an
opposing party;

(4) the judgment is void;

(5) the judgment has been satisfied, released, or
discharged; it is based on an earlier judgment
that has been reversed or vacated; or applying it
prospectively is no longer equitable; or
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(6) any other reason that justifies relief.
Fed. R. Civ. P. 60(b). Rule 60(c) (1) clarifies that a motion made
pursuant to Rule 60(b)(1), (2), or (3) must be made within one
year, Fed. R. Civ. P. 60(c)(1); however, there is no such
limitation for a motion made pursuant to Rule 60(b) (6). See Fed.
R. Civ. P. 60(c) (1). A motion pursuant to Rule 60(b) (6) need only

be made in a reasonable time. Great Coastal Express, Inc. v.

 

International Brotherhood of Teamsters, 86 F.R.D. 131, 136 (E.D.

 

Va. 1980).

Because Rule 60(b) has five enumerated grounds for relief
followed by a catch-all provision allowing for “any other reason
justifying relief,” Rule 60(b)(6) should be read as “a residuary
clause intended to encompass contingencies which could not have

been foreseen by the Rule's drafters.” Great Coastal Express,

 

Inc. v. International Brotherhood of Teamsters, 86 F.R.D. 131, 136
(E.D. Va. 1980); aff'd Great Coastal Express, Inc. v. International
Brotherhood of Teamsters, 675 F.2d 1349 (4th Cir. 1982). That is,
“if the reasons offered for relief from judgment could be
considered under one of the more specific clauses of Rule 60(b) (1) -
(5), those reasons will not justify relief under Rule 60(b) (6) .”

12 Moore’s Federal Practice § 60.48[2] (Matthew Bender 3d Ed.).
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B. Fed. R. Civ. Pro. 60(d) (1)

Federal Rule of Civil Procedure 60(d)(1) clarifies that the
preceding paragraphs of Rule 60 do not limit a court’s ability to
“entertain an independent action to relieve a party from a
judgment, order, or proceeding.” Fed. R. Civ. P. 60(d)({1). “An
independent action in equity is usually a ‘new case in the same
court or another court possessing jurisdiction.’” Glaser v. Enzo
Biochem, Inc., 2011 U.S. Dist. LEXIS 156616, *25 (E.D. Va. Apr. 1,

2011) (citation omitted).

DISCUSSION
A. Fed. R. Civ. Pro. 60(b) (6)

Carey’s position is that he has shown, by way of the so-
called new evidence (his and Dietz's affidavits) that there were
extraordinary circumstances which justify relief under Rule
60(b) (6). Mot. to Vacate at 10-11, ECF No. 94. That position is
without merit.

Carey's story amounts to a claim for relief under Fed R. Civ.
P. 60(b) (1) (i.e., “mistake, . . . surprise, or excusable neglect” )
or Fed R. Civ. P. 60(b) (2) (i.e., “newly discovered evidence
that, with reasonable diligence, could not have been discovered in
time to move for a new trial under Rule 59(b)”). But, of course,

Carey is well-past the one-year limit for bringing claims under

Rule 60(b) (1) and (b) (2).
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Indeed, Carey’s papers show that he cannot show either
excusable neglect or the exercise of reasonable diligence and he
thus could not meet the requirements under Rule 60(b)(1) or (2).
Without doubt, Carey has shown that in 2010 he could not find, in
the Carey Law Firm’s records, evidence that the Plaintiffs’ debts
had been entrusted to him or his firm for collection. He
nonetheless settled the Plaintiffs’ claims. And, as Carey puts
it, “just after the settlement,” he learned that the employee in
charge of the Carey Law Firm’s operations, including its electronic
records, had manipulated the Carey Law Firm’s records in
committing, inter alia, forgery and identity theft. And, Carey
did nothing to pursue the relation between what he knew Lanzetta
had done and the inexplicable lack of evidence in those records
showing a connection between the Carey Law Firm and the Plaintiffs’
debt . Those facts preclude a finding of excusable neglect or
reasonable negligence.

Thus, he attempts to shoehorn his story to fit under Fed R.
Civ. P. 60(b) (6) (i.e., “any other reason that justifies relief”).
However, using Fed R. Civ. P. 60(b) (6) to attempt to dodge the
time limits of Fed R. Civ. P. 60(b) (1)-(3) is not permissible.
See Great Coastal Express, Inc. v. International Brotherhood of

Teamsters, 86 F.R.D. 131, 136 (E.D. Va. 1980). Therefore, the

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portion of Carey’s Motion to Vacate based on Rule 60(b) (6) will be
denied.

In any event, the record recited above shows that Carey’s
Rule 60(b) (6) motion was not filed in a “reasonable time.” So it
is time-barred under Rule 60(b) (6) and fails for that additional
reason. ?

B. Fed. R. Civ. Pro. 60(d) (1)

Carey alternatively says that he is entitled to relief under
Federal Rule of Civil Procedure 60({d) (1) which allows a court to
“entertain an independent action to relieve a party from judgment,
order, or proceeding.” An “independent action,” as used in Rule
60(d) (1) “was meant to refer to a procedure which has been
historically known as an independent action in equity to retain
relief from a judgment.” Bankers Mortg. Co. v. United States, 423
F.2d 73, 78-79 (Sth Cir. 1970); see Glaser v. Enzo Biochem, Inc.,
No. 1:02cv1242, 2011 U.S. Dist. LEXIS 156616 at *25 (E.D. Va. Apr.
1, 2011). In Glaser, the Court explained that “[a]n independent
action in equity is usually ‘a new case—--in the same court or

another court possessing jurisdiction.’” Aff'd 328 F. App’x. 873

 

3 In other words, the same facts that preclude a finding of
excusable neglect or reasonable diligence also foreclose a finding
that the motion was filed within Rule 60(b)’s “reasonable time”
limitation. Moreover, even after the February 2020 lunch meeting,
Carey waited until July 2020 to file the instant motion. That
certainly does not meet the definition of “reasonable time” either.

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4th Cir. 2009. Of course, the Motion to Vacate is not an
independent action and Carey’s suggestion that it be so considered
does not convert the motion into an independent action for it
simply is not a new case.‘

But, even if the motion somehow could be considered a new
case, Carey is not entitled to relief. To prevail on a motion
made under Rule 60(d) (1), the movant must show:

That the judgment in favor the defendant
‘ought not, in equity and good conscience,’ be
enforced; (2) that he has a ‘good’ claim; (3)
that ‘fraud, accident, or mistake,’ prevented
him from obtaining the benefit of his claim;
(4) ‘the absence of fault or negligence’ on
his part; and (5) ‘the absence of any adequate

remedy of law.’

Great Coastal Express, 675 F.2d at 1358; see also Asterbadi v.

 

 

Leitess, 176 F. App’x. 426, 430 (4th Cir. 2006). Carey has not
met this intentionally stringent requirement.

Considering the entire record in this case, including the
allegedly newly discovered evidence presented by Carey, it is quite
clear that adequate supervision of the Carey Law Firm and its
operations would have disclosed the facts on which Carey now relies
in his effort to set aside the judgment. There is nothing

equitable about aiding someone who has allowed conditions to exist

 

* Usually, a motion under Rule 60(d)(1) is accompanied by the
proposed Complaint that would initiate the new case. Carey
tendered no such Complaint.

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in a law firm to the detriment of people such as the Plaintiffs in
this case.

And, even if adequate supervision somehow would not have
disclosed the so-called “new evidence,” certainly a diligent
pursuit of what Carey learned “just after the settlement” (as he
puts it) would have uncovered the “new evidence” on which an
independent action would rest. This record is bereft of reasonable
or diligent follow-up. And that follow-up was warranted given
that Carey had been unable to locate a connection with the
Plaintiffs’ debts in the electronic files of the Carey Law Firm
and in the face of the knowledge that Lanzetta had been
manipulating those files.5

On this record, it cannot be said that Carey has a good claim
or that there is an absence of fault or negligence, or that the
judgment ought not, in equity and good conscience, be enforced.
In sum, the information submitted by Carey falls far short of
supporting an independent action in equity, even if Carey had filed

one (or the Motion to Vacate could be considered as an independent

action).

 

° It is no answer that Dietz did not volunteer the information to
Carey where, as here, Carey did not even query Dietz about it even
after learning of Lanzetta’s manipulation of the electronic files,
given that Carey knew that he and Dietz had searched for, but had
not found, information about the Plaintiffs‘ debts in those same
files.

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The Court recognizes that Carey is proceeding pro se. And,
it is generally the case that a court is required to construe pro
se pleadings liberally. However, Carey, who is a lawyer, is not
entitled to the benefit of this principle. He is, in fact, an

attorney, he is just not admitted to practice in Virginia.

CONCLUSION
For the foregoing reasons, Pro Se Defendant Mark A. Carey’s
Rule 60(b) (6) or, Alternatively, Rule 60(d)(1) Action to Set Aside
or Vacate Judgment (ECF No. 94) will be denied.
It is so ORDERED.

/s/ Kok

Robert E. Payne
Senior United States District Judge

 

Richmond, Virginia
Date: March 31, 2021

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